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       District 6

    Population Statistics                      Ethnicity                    Voter Statistics

Town of Amherst                 83,552   White                  70,660   Registered Voters     50,867
                                         % White               84.57%
Total Population                83,552   Black                   4,113   Democrats             19,864
Deviation                            3   % Black                4.92%    Republicans           18,480
% Deviation                    0.00004   American Indian           150   Conservatives            826
                                         % American Indian      0.18%    Working Families         139
Age 18+                         67,875   Asian                   6,710   Independence           2,248
                                         % Asian                8.03%    Green                    102
                                                                         Other                    402
                                         Hispanic Origin         1,945   Blank                  8,806
                                         % Hispanic Origin      2.33%
                                                                         Male                  23,236
                                         Black 18+               3,067   Female                27,631
                                         % Black 18+            4.52%
                                         Hispanic Origin 18+     1,319   Age 18 - 24            4,525
                                         % Hispanic 18+         1.94%    Age 25 - 34            6,558
                                                                         Age 35 - 40            3,842
                                                                         Age 41 - 45            4,091
                                                                         Age 46 - 54            8,700
                                                                         Age 55 - 61            6,772
                                                                         Age 62+               16,379

                                                                         Federal Voters          201
                                                                         Military Voters          90
                                                                         Disabled                771
                                                                         Nursing Home            310

                                                                         Voted 2007 Election   22,097
                                                                         Voted 2009 Election   16,625
